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   7
   8                        UNITED STATES DISTRICT COURT
   9                      CENTRAL DISTRICT OF CALIFORNIA
  10
  11   Y.H., by and through her Guardian         Case No. 8:22-cv-998-SSS
       NATHAN HARRIS, individually and on
  12   behalf of similarly situated individuals, PLAINTIFF’S MEMORANDUM
                                                 OF POINTS AND AUTHORITIES
  13                   Plaintiff,                IN SUPPORT OF MOTION TO
                                                 REMAND CASE
  14         v.
                                                 Judge: Hon. Sunshine S. Sykes
  15   BLIZZARD ENTERTAINMENT, INC., Courtroom: 2
       Delaware corporation,
  16                                             Action Filed:           May 3, 2022
                       Defendant.                Removal Date:           May 17, 2022
  17
                                                  Hearing Date:          Oct. 14, 2022
  18                                              Time:                  2:00pm
                                                  Courtroom:             2
  19
  20
                                                  Trial Date: None set
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  27      PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
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   1            Plaintiff Y.H., a minor, by and through her Guardian Nathan Harris
   2   (collectively “Plaintiff”), respectfully submits this memorandum of points and
   3   authorities in support of her Motion to Remand Case.
   4                                      INTRODUCTION
   5            Plaintiff filed this lawsuit in California state court before it was removed to
   6   this Court by Defendant Blizzard Entertainment, Inc. (“Defendant”). It is well-settled
   7   law that Defendant, as the removing party and proponent of federal jurisdiction, has
   8   the burden to establish this Court’s subject matter jurisdiction. In its Notice of
   9   Removal (Dkt. 1), Defendant asserted the Class Action Fairness Act (“CAFA”) as its
  10   basis for subject matter jurisdiction. But, even in a case removed pursuant to CAFA,
  11   establishing and maintaining the existence of an Article III injury is an inescapable
  12   necessity, the burden of which lies squarely on Defendant. Thus, to remain in federal
  13   court, i.e. this Court, Defendant must establish, and concede, that Plaintiff has a
  14   concrete, imminent, non-hypothetical injury, as required by Article III.
  15            In its Motion to Dismiss for Mootness, or, in the Alternative, to Compel
  16   Arbitration, Defendant argues under Fed. R. Civ. P. 12(b)(1) that Plaintiff lacks
  17   Article III standing because Plaintiff’s claims are “moot.” In doing so, Defendant has
  18   undermined, and indeed abdicated, its removal burden to establish this Court’s
  19   subject matter. Defendant may not, on the one hand, avail itself of federal jurisdiction
  20   while on the other hand engage in post-removal conduct that contradicts the very
  21   same. For these and the reasons explained in detail below, the Court should remand
  22   this case to the Superior Court of Orange County, California, where this case was
  23   filed.
  24                         RELEVANT PROCEDURAL HISTORY
  25            On May 3, 2022 Plaintiff filed her Complaint in the Superior Court for the
  26   State of California for the County of Orange. (Compl., Dkt. 1-1). On May 17, 2022,
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   1   Defendant removed the case to this Court. (Notice of Removal, Dkt. 1). Defendant’s
   2   Notice of Removal alleged the existence of federal jurisdiction pursuant to the Class
   3   Action Fairness Act of 2005 (“CAFA”), 28 U.S.C. § 1332(d). (Id. at ¶ 5). However,
   4   on July 1, 2022, Defendant filed its Motion to Dismiss for Mootness, or in the
   5   Alternative, to Compel Arbitration (“Motion,” Dkt. 19). Despite asserting this
   6   Court’s jurisdiction in its Notice of Removal, Defendant’s Motion requests dismissal
   7   of Plaintiff’s claims under Fed. R. Civ. P. 12(b)(1) for lack of subject matter
   8   jurisdiction, and expressly renounces this Court’s subject-matter jurisdiction over
   9   this case by arguing that Plaintiff’s claims are “moot” such that there is no Article III
  10   injury-in-fact:
  11         •      “Plaintiffs thus have neither standing nor any basis to continue this
  12                action.” (Motion at 2);
  13         •      “THE COURT SHOULD DISMISS FOR LACK OF SUBJECT-
  14                MATTER JURISDICTION.” (Id. at 11);
  15         •      “Plaintiffs’ claims are moot.” (Id. at 14);
  16         •      “[T]he Court should dismiss the Complaint pursuant to Rule 12(b)(1)
  17                for lack of subject-matter jurisdiction.” (Id. at 16)
  18                                  ARGUMENT
  19   I.    Defendant Has Affirmatively Undercut its Burden To Establish and
             Maintain Federal Subject Matter Jurisdiction, Necessitating Remand To
  20         State Court.
  21         It is axiomatic that a removing defendant bears the burden of establishing
  22   federal subject-matter jurisdiction. Abrego Abrego v. The Dow Chemical Co., 443
  23   F.3d 676, 683 (9th Cir. 2006) (“In cases removed from state court, the removing
  24   defendant has ‘always’ borne the burden of establishing federal jurisdiction. . .”)
  25   (internal citation omitted); see also Gaus v. Miles, Inc., 980 F.2d 564, 566 (9th Cir.
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   1   1992) (“The ‘strong presumption’ against removal jurisdiction means that the
   2   defendant always has the burden of establishing that removal is proper”) (citing
   3   Nishimoto v. Federman-Bachrach & Assocs., 903 F.2d 709, 712 n. 3 (9th Cir. 1990));
   4   Emrich v. Touche Ross & Co., 846 F.2d 1190, 1195 (9th Cir. 1998) (“The burden of
   5   establishing federal jurisdiction is on the party seeking removal, and the removal
   6   statute is strictly construed against removal jurisdiction”) (internal citations omitted).
   7   Further, a removing defendant bears the burden of maintaining subject-matter
   8   jurisdiction because “‘[i]f at any time before final judgment it appears that the district
   9   court lacks subject-matter jurisdiction, the case shall be remanded.’” Polo v.
  10   Innoventions International, LLC, 833 F.3d 1193, 1196 (9th Cir. 2016) (quoting 28
  11   U.S.C. § 1447(c)) (emphasis added). The question of whether Defendant, as the party
  12   invoking federal jurisdiction, has established subject-matter jurisdiction is a
  13   threshold issue that must be decided before this Court proceeds in this matter in any
  14   way. See Steel Co. v. Citizens for a Better Environment, 523 U.S. 83, 94 (1998)
  15   (“[W]ithout proper jurisdiction, a court cannot proceed at all”).
  16         Where removal jurisdiction is lacking, the appropriate remedy is remand to
  17   state court. Polo, 833 F.3d at 1196 (“Moreover, the district court generally must
  18   remand the case to state court, rather than dismiss it.”) (citing Bruns v. Nat’l Credit
  19   Union Admin., 122 F.3d 1251, 1257 (9th Cir. 1997)). Indeed, “[s]tate courts are not
  20   bound by the constraints of Article III.” Id. (citing ASARCO Inc. v. Kadish, 109 S.
  21   Ct. 2037 (1989)). Importantly, these general legal principles apply with equal force
  22   to cases removed pursuant to CAFA. Polo, 833 F.3d at 1196.
  23         Here, Defendant has affirmatively disavowed its basis for removing this case
  24   from California state court: that federal jurisdiction exists. Defendant alleged in its
  25   Notice of Removal that this Court had subject-matter jurisdiction, but then
  26   insidiously moved to dismiss Plaintiff’s claims with prejudice under Rule 12(b)(1)
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   1   for lack of that same jurisdiction, asserting that Plaintiff lacks Article III standing
   2   because Defendant attempted to provide her with a refund for her purchases.
   3   Consequently, Defendant has completely undercut the representations made in its
   4   removal papers that federal jurisdiction exits. In other words, “defendant [is trying]
   5   to have it both ways by asserting, then immediately disavowing, federal jurisdiction,
   6   apparently in hopes of achieving outright dismissal, with prejudice, rather than the
   7   remand required by § 1447(c).” Ayala v. Sixt Rent a Car, LLC, No. 19-cv-1514, 2019
   8   WL 2914063, at *2 (C.D. Cal. Jul. 8, 2019) (quoting Mocek v. Allsaints USA Ltd.,
   9   220 F. Supp. 3d 910, 914 (N.D. Ill. 2016)).
  10         While Defendant’s Notice of Removal references the statutory requirements
  11   for removal under CAFA, a removing “defendant [also] bears the burden of
  12   establishing the existence of a case or controversy under Article III, including ‘the
  13   core component of standing.’” Env't Rsch. Ctr. v. Heartland Prod., 29 F. Supp. 3d
  14   1281, 1283 (C.D. Cal. 2014) (quoting Lujan v. Defenders of Wildlife, 504 U.S. 555,
  15   561 (1992)). Thus, Defendant’s attack on Plaintiff’s Article III standing (Motion at
  16   16), and by extension this Court’s jurisdiction, fatally undercut Defendant’s ongoing
  17   burden to demonstrate subject matter jurisdiction. Importantly, the burden to
  18   establish subject-matter jurisdiction falls squarely on Defendant, and it is not
  19   Plaintiff’s duty to shoulder the burden of proving jurisdiction that Defendant has
  20   abdicated. Ayala, 2019 WL 2914063, at *2 (because parties were aligned in view that
  21   court lacked subject-matter jurisdiction, remand of CAFA-removed case was
  22   warranted); Hadi v. McCune Wright Arevalo LLP, No. 18-cv-05104, 2018 WL
  23   6675622, at *8 (C.D. Cal. Dec. 17, 2018) (refusing to grant a removing defendant’s
  24   motion to dismiss for lack of subject matter jurisdiction under Rule 12(b)(1) because
  25   that “would be inequitable and contrary to Defendants’ obligation to prove federal
  26   subject-matter jurisdiction upon removal, the failure of which typically necessitates
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   1   remand”); see also People for Ethical Operation of Prosecutors and Law
   2   Enforcement v. Rackauckas, No. 18-cv-00805, 2018 WL 3533461 at *2 (C.D. Cal.
   3   July 12, 2018) (remanding case where defendant failed to establish Article III
   4   standing in case removed by defendant); Barnes v. Aryzta, 288 F. Supp. 3d 834, 839
   5   (N.D. Ill. 2017) (remanding case removed under CAFA where, even though
   6   defendant timely withdrew its Rule 12(b)(1) motion to dismiss, its Rule 12(b)(6)
   7   motion to dismiss nonetheless undermined Article III standing); Zhirovetskiy v. Zayo
   8   Group, LLC, No. 17-cv-05876, 2018 WL 11195494 (N.D. Ill. Mar. 7, 2018) (granting
   9   plaintiff’s motion to remand a case removed under CAFA because the defendant had
  10   “undermine[d] its representation that the federal court had jurisdiction over the
  11   case”); Mocek, 220 F. Supp. 3d at 914 (granting plaintiff’s motion to remand because
  12   “with no party willing to overcome the presumption against federal jurisdiction,
  13   remand is appropriate on any analysis”).
  14          Heartland Products, 29 F. Supp. 3d 1281 (C.D. Cal 2014), is illustrative. In
  15   Heartland, the plaintiff filed a complaint in Los Angeles County Superior Court
  16   before it was removed to the Central District of California by the defendant pursuant
  17   to diversity jurisdiction. Id. at 1282. The plaintiff moved to remand the case, asserting
  18   that the statutory cause of action at issue did not create an individual right, but, rather,
  19   a right of action on behalf of the State of California and, thus, could not give rise to
  20   Article III standing. Id at 1283. The Heartland court agreed, finding that the
  21   defendant’s failure to establish Article III, “the core component of standing,”
  22   demonstrates that removal was improper. Id. at 1283-84. Likewise, here, Defendant’s
  23   direct assault on the existence of an actual, cognizable injury goes straight to the core
  24   component of Article III standing.
  25          Even more on point, in Aryzta, 288 F.Supp.3d 834 (N.D. Ill. 2017), the plaintiff
  26   filed a class action in Illinois state court alleging violations of state data privacy law.
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   1   Id. at 835. The defendant removed the case to federal court pursuant to CAFA. Id. at
   2   836. Once in federal court, the defendant moved to dismiss the action for lack of
   3   subject matter jurisdiction pursuant to Fed. R. Civ. P. 12(b)(1), asserting that plaintiff
   4   lacked a concrete injury-in-fact. Id. The defendant also moved to dismiss pursuant to
   5   Rule 12(b)(6) for failure to establish statutory standing. Id. Despite the defendant’s
   6   prompt withdrawal of its 12(b)(1) motion, the court nonetheless granted the
   7   plaintiff’s motion to remand, finding that the defendant’s post-removal conduct in
   8   challenging plaintiff’s Article III standing demonstrated to the court that federal
   9   jurisdiction may have been lacking. Id. at 839. The Aryzta court flatly rejected
  10   defendant’s argument that removal pursuant to CAFA does not require an
  11   independent Article III basis. See id. at n.3 (“The [c]ourt has already explained . . .
  12   that removal jurisdiction involves both the issue of jurisdiction under the CAFA and
  13   the issue of standing. It was incumbent on [d]efendant . . . to consider the Article III
  14   standing issue when it removed the action to this [c]ourt”). In addition to granting the
  15   plaintiff’s motion to remand, the court also awarded the plaintiff his attorneys’ fees
  16   incurred because of the inappropriate removal. Id. at 840. Here, like in Aryzta, it was
  17   “incumbent on [defendant] . . . to consider the Article III standing issue” when
  18   choosing to challenge this Court’s jurisdiction post-removal.
  19         Another court in the Northern District of Illinois reached a similar result in
  20   Roberts v. Dart Container Corp. of Illinois, No. 17-cv-9295, 2018 WL 3015793
  21   (N.D. Ill. Mar. 12, 2018). In Dart, the defendant removed the case from state court
  22   to federal court, asserting, as in the instant case, federal jurisdiction via CAFA. Id. at
  23   *1. Once in federal court, the defendant filed its motion to dismiss pursuant to Rule
  24   12(b)(1) for lack of subject matter jurisdiction, arguing that the “[p]laintiff did not
  25   suffer an injury in fact and thus lacked Article III standing.” Id. Finding that the
  26   defendant failed to satisfy its removal burden and that plaintiff was unwilling to carry
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   1   such burden on the defendant’s behalf, the Dart court granted the plaintiff’s motion
   2   to remand. Id. at *2. Similar to the defendant in Dart, here, Defendant has argued
   3   that Plaintiff lacks standing to sue. Thus, similar to the defendant in Dart, Defendant
   4   has failed to satisfy its removal burden.
   5         Accordingly, as remand is the correct remedy when a removing defendant fails
   6   to establish and maintain subject-matter jurisdiction, this Court should remand this
   7   case back to the state court from which it was removed. See Polo, 833 F.3d at 1196;
   8   see also 28 U.S.C. § 1447(d) (characterizing remand under removal statute as to the
   9   state court “from which it was removed”) (emphasis added); Franchise Tax Bd. Of
  10   Cal. v. Constr. Laborers Vacation Trust, 463 U.S. 1, 8 (1983) (remanding
  11   improperly-removed case back “to the state court from which it was removed”).
  12                                      CONCLUSION
  13         For the foregoing reasons, Plaintiff respectfully requests that the Court (1)
  14   remand this case pursuant to 28 U.S.C. § 1447(c) back to the Superior Court of the
  15   State of California for the County of Orange; and (2) grant such other relief the Court
  16   deems reasonable and just.
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  18
       DATED: August 25, 2022                          Respectfully submitted,
  19
  20                                                   Y.H., by and through her Guardian
                                                       NATHAN HARRIS, individually and
  21                                                   on behalf of similarly situated
  22                                                   individuals

  23                                                   By: /s/ Eugene Y. Turin
  24
                                                       Eugene Y. Turin (SB # 324413)
  25                                                   MCGUIRE LAW, P.C.
  26                                                   55 W. Wacker Dr., 9th Fl.
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